                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 RACHEL RAMSBOTTOM et al.,                         )
                                                   )
     Plaintiffs,                                   )
                                                   )
v.                                                 )     Case No. 3:21-cv-00272
                                                   )     Judge Aleta A. Trauger
LORIN ASHTON et al.,                               )
                                                   )
     Defendants.                                   )


                                MEMORANDUM and ORDER

       Before the court is defendant Lorin Ashton’s Motion to Reconsider the Court’s Order

Excluding the Expert Testimony of Dr. Kimberly Mehlman-Orozco. (Doc. No. 503.) The court

presumes that the plaintiffs would oppose the motion and would, at a minimum, argue that the

court was within its discretion in excluding that testimony. The court nonetheless issues this Order

without giving the plaintiffs the opportunity to respond.

       The motion is well taken. As the defendant points out, the plaintiffs did not object to Dr.

Mehlman-Orozco’s testimony in its entirety and did not object to her qualifications as an expert or

to the relevance of her testimony. The court previously found Mehlman-Orozco to be “imminently

qualified as an expert in the field of sex trafficking.” (Doc. No. 469 at 15.) In the exercise of its

discretion, the court finds that the original Order (Doc. No. 470) excluding Dr. Mehlman-Orozco’s

testimony altogether swept too broadly and, therefore, will grant the Motion to Reconsider.

Specifically, the Order of exclusion is modified and superseded by this Order, insofar as Dr.

Mehlman-Orozco will be permitted to testify within the parameters suggested by the defendant:

she may testify as to the common “indicia and contours of modern-day sex trafficking” (see Doc.




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No. 503 at 5), without comparison of those indicia to the specific facts of this case. She may also

explain basic terminology and principles of sex trafficking. The court finds that this testimony

would be informative and helpful to the jury, without being unduly prejudicial to the plaintiffs. As

the court previously concluded, however, Dr. Mehlman-Orozco’s opinions concerning sex

trafficking by force, fraud, or coercion and the “beneficiary” theory of sex trafficking liability

remain irrelevant in light of the court’s ruling on summary judgment, and her rebuttal of Rebecca

Bender’s testimony remains unnecessary in light of the court’s exclusion of Bender’s testimony in

its entirety. In addition, she will not be permitted to testify regarding the legislative history of the

Trafficking Victims Protection Act or the Trafficking Victims Protection Reauthorization Act or

regarding her opinions as to the true purpose of either Act.

        Accordingly, the defendant’s motion is GRANTED, and the prior Order excluding Dr.

Mehlman-Orozco’s testimony in its entirety (Doc. No. 470) is hereby MODIFIED to permit this

expert to testify within the limits set forth herein.

        It is so ORDERED.




                                                ALETA A. TRAUGER
                                                United States District Judge




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